                      Case 5:12-cv-02084-FMO-SP Document 1 Filed 11/28/12 Page 1 of 21 Page ID #:1
i                                           c)                             ì    /




                         1 Monica Mitchell
                              1683 Tamarron Drive
                         2 Corona, CA 92883
                         3 TeL. 951-316-3298
                              Fax 951 -639-3793
                         4 Email: monicagraham@rocketmail.com
                                                                                           mn~
                         5

 1                       6 Plaintiff in Pro per                                       ~~J~
                                                                                        -r(.!) i                   ~ri
-J                                                                                            ¡:CJ('J N
                         7                                                                    ~.?:-"i:.j            'q
                                                                                             CJ 0 :',. :i
                                                                                           I ,Jw¡;:-; CX
                         8

                         9                     UNITED STATES DISTRICT COUR1 "'~l ~
                        10
                                              CENTRA DISTRICT OF CALIFORNIA A.
                        11
                                                       ED GV 12 6a 02084' ~SP                              '!\~~
                        12 MONICA MITCHELL, an ) CASE NO.
                        13 individual, )
                        14
                                                                   ) COMPLANT AND DEMAD
                                         Plaintiff,                ) FOR TRIAL BY JURY
                        15    vs.                                  )
                                                                   )
         ?J'            16
                              WESTERN DENTAL SERVICES, )
     à                  17 INC. and Does 1 -10, inclusive, )

                        18               Defendants. )
                                                                    )
                        19
                                                                    )
                        20'

                        21
                                    The Plaintiff, Monica Mitchell, hereby complains against the
                        22
1
                              Defendant, WESTERN DENTAL SERVICES, INC. alleges and states
         ~              23
~
 ¡
1
j
         .~             24 her claim as follows:
                        25 III
         ~,,~
                        26
         ~~~
         ~~r~
          :"'"
           :lA:''.i
                        27 III
         r"l
         ~¡f.i21        28
J
                                                                   - i -


                                                  COMPLAINT AND DEMAND FOR TRIAL BY JURY
j
                                            f)
                                            \. .
                                                        (', 2 of 21 Page ID #:2
    Case 5:12-cv-02084-FMO-SP Document 1 Filed 11/28/12 Page
                                                                            " 1



        1
                                                   PRELIMINARY STATEMENT
        2 1.              This is an action for actual and statutory damages for violations
        3
               of the Fair Debt Collection Practices Act (hereafter the "FDCP A"), 15
        4

        5 U.S.C. §1692 et seq. and the Telephone Consumer Protection Act, Sec.
        6 227.,47 USC § 227(b)(i), 47 USC § 227(a) (iii) (hereafter the "TCPA").
        7

        8
                                                              PARTIES
        9 2.              Plaintiff,        Monica Mitchell ("Plaintiff' or "Mitchell") is a natural
      10
              person and at all times a resident of the state of California and the
      11

      12 County of Riverside, and a "consumer" as that term is defined by 15
      13
              U.S.C. §1692a(3).
      14

      15 3. Defendant Western Dental Services, Inc. ("Western Dental") is a
      16 "creditor" as that term is defined by 15 U.s.C. §1692a(4) and a "debt

      17
              collector" as that term is defined by 15 U.S.C. §1692a(6) and sought to
      18

      19 collect a consumer debt from Plaintiff.
      20
              4.           Defendant acted through its agents, employees, officers,
      21

      22 members, directors, heirs, successors, assigns, principals, trustees,
      23 sureties, subrogees, .
                                                   representatives, and insurers.
      24
                                                   JURISDICTION AND VENUE
      25

      26 5.               Jurisdiction of          this Court arises pursuant to 15 U.S.C. §1692k,

      27
              which states that such actions may be brought and heard before "any
      28

                                                                 -2-

                                               COMPLAINT AND DEMAND FOR TRIAL BY JURY
j
                                      ()
    Case 5:12-cv-02084-FMO-SP Document 1 Filed 11/28/12 Page 3 of 21 Page ID #:3
                                                                        )

        1 appropriate United States district court without regard to the amount
        2 in controversy," under 47 U.S.C. §227(b)(3), and 28 U.S.C. §1331 grants

        3
               this court original jurisdiction of all civil actions arising under the laws
        4

        5 of the United States.

        6
               6. Venue is proper pursuant to 28 U.S.C. §1391b. Venue in this
        7

        8 District is proper in that the Plaintiff resides here, the Defendant
        9 transacts business here, and the conduct complained of occurred here.

      10
               7.          Declaratory relief is available pursuant to 28 U.S.C. §§2201 and
      11

      12 2202.
      13
              8.           This   is an action for damages which exceed $75,000.00.
      14

      15
                                             FACTUAL     ALLEGATIONS

      16 9.                At all pertinent times hereto, Defendant Western Dental was
      17
              attempting          to collect a consumer debt from'Plaintiff.
      18

      19 10.' The alleged debt at issue arose out of transactions, which were
      20
              primarily for personal, family, or household purposes and is therefore a
      21
                                           is defined by 15 U.S.C. §1692a(5).
      22 "debt" as that term



      23 11. Beginning in or before September 28,2012, Defendant Western

      24
              Dental constantly and continuously placed collection calls to Plaintiff
      25

      26 seeking and demanding                   payment for an alleged debt owed, notably,
      27
              automated telephone calls as defined by the TCPA.
      28

                                                          -3-

                                         COMPLAINT AND DEMAND FOR TRIAL BY JURY
                                  ()
Case 5:12-cv-02084-FMO-SP Document 1 Filed 11/28/12 Page
                                                    /.- -" 4 of 21 Page ID #:4
                                                    , )



        12. On September 28, 2012, Plaintiff faxed a Cease and Desist Letter

       to Defendant Western Dental demanding that all telephone calls to

       Plaintiff shall cease immediately, specifically that Defendant could not

       call the number 951 -316-3298. See Exhibit "1".

       13. On October 3, 2012 at approximately 1:34 p.m., Defendant

       Western Dental placed an ~utomated telephone call to Plaintiffs

       cellular phone, the first in violation of Plaintiffs cease and desist letter.

       14. On October 4, 2012, at approximately 2:04 p.m., Defendant

       Western Dentalplaced an automated telephone call to Plaintiffs

       cellular     phone, the second in violatión of                            Plaintiffs cease and desist

  15 letter.
  16 15. Then, on October 6, 2012 at approximately 11:43 a.m., Defendant

  17
       Western Dental placed a third and fourth automated telephone call to
  18

  19 Plaintiffs cellular phone.
  20
       16. On October 7, 2012 at 4:33 p.m. and again at 7:22 p.m., Defendant
  21

  22 placed a fifth and sixth automated telephone call to Plaintiffs cellular
  23 phone.
  24
       17.        On Oètober 9, 2012 at 12:32 p.m., Defendant placed a seventh
  25

  26 automated telephone call to Plaintiffs cellular phone.
  27
       18. On         October 10, 2012, Plaintiffeaused to fax and mail                            a Notice of
  28

                                                                          - 4-
                                        COMPLAINT AND DEMAND FOR TRIAL BY JURY
 J                                ()
     Case 5:12-cv-02084-FMO-SP Document 1 Filed 11/28/12 Page
                                                         ( " 5 of 21 Page ID #:5
                                                                  , J



         1 Intent to File Lawsuit to Defendant. See Exhibit "2" attached hereto

         2 and incorporated herein by this reference.
         3
                19.       On October 24, 2012 at 1:23 p.m., Defendant Western Dental
         4

         5 placed an eighth automated telephone call to Plaintiffs cellular phone.
         6
               20. On October 25, 2012 at 12:24 p.m., 6:47p.m. and 7:25 p.m.,
         7

         8 Defendant placed a ninth, tenth and eleventh automated telephone call
        9 to Plaintiffs cellular phone.

       10
               21.        On October 26,2012 at 9:17a.m. and 10:14 a.m., Defendant
       11

       12 Western Dental placed a twelfth and thirteenth automated telephone
       13
               call to Plaintiffs cellular phone.
       14

       15 22; From October 27, 2012 to present date, Defendant Western
       16 Dental placed at least six additional automated telephone calls to
       17
               Plaintiffs cellular phone.
       18

       19 23. In all of          the phone calls to Plaintiff, the automated system
       20
               announces "Hello, this is a call for Monica Mitchell. This is
       21

       22 (Representative's N ameJ calling from Western DentaL. Please hold for
j
~
       23 an important call. All calls are monitored and recorded for quality
4,
1
 j     24
 î
               control purposes. This is an attempt to collect a debt."
 1     25
J
1
       26 24. Defendant Western Dental placed constant collection calls to
       27
               Plaintiff from telephone numbers: 877-703-4109,877-703-4110 and
       28

                                                      -5-
                                     COMPLAINT AND DEMAND FOR TRIAL BY JURY
        Case 5:12-cv-02084-FMO-SP Document 1 Filed 11/28/12 Page
                                                              )
                                                                 6 of 21 Page ID #:6
    1
                                                 C')


            1
                  866-620-8390.

           2 25. Defendant Western Dental's sole purpose in contacting Plaintiff
           3
                  several times a day andlor once every two, three, four or five days, was
           4
i
           5 to harass Plaintiff.
    I
    J      6
    i
                  26. From October 2,2012 through October 26,2012, Defendant
           7

           8 Western Dental violated the TCP A by leaving XX recorded messages

           9 using automatic telephone dialing system or artificial or prerecorded
          10
                  voices on Plaintiffs cell phone.
          11

          12 27. From October 2,2012 through November 27,2012, Defendant
          13
                  W estern           Dental violated the TCP A by calling Plaintiffs cell phone i 9
          14

          15 times without permission or authority give:r by
                                                                                      Plaintiff.
          16 28. From October 2, 2012 through November 27, 2012, Defendant

          17
                  Western Dental violated the TCP A by leaving recorded messages on
          18

          19 Plaintiff s cell phone without express permission.
          20
                  29. Through this conduct, Defendant Western Dental engaged in .
          21
J
          22      conduct the natural consequence of                     which was to harass, oppress, or
i

J
          23      abuse a person in connection with the collection of a debt.
j

          24
1
                  Consequently, Defendant Western Dental violated 15 U.S.C. §1692d.
          25
J
          26 30. Through this conduct, Defendant Western Dental used an unfair
          27
                  or unconscionable means to collect or attempt to collect a debt.
          28

                                                                        -6-

                                                       COMPLAINT AND DEMAND FOR TRIAL BY JURY
 1
                                              ()
     Case 5:12-cv-02084-FMO-SP Document 1 Filed 11/28/12 Page 7 of 21 Page ID #:7   ()
        1 Consequently, Defendant Western Dental violated 15 U.s.C. §1692f.
        2 31. Through this conduct, Defendant Western Dental caused Plaintiff
        3
                emotional stress and duress.
        4

        5                                                   FIRST CLAM FOR RELIEF
        6
                                             VIOLATION OF FDCPA 15 U.S.C. §1692d
        7

        8
                              BY DEFENDANT WESTERN DENTAL SERVICES, INC.

        9 32.              Plaintiff incorporates by reference all of the above paragraphs of
       10
                this Complaint as though fully stated herein.
       11

       12 33.              The foregoing acts and omissions constitute numerous
                                                                                                  and
       13
                multiple violations of                       the FDCPA, inclusive 15 U.S.C. §1692d.
       14

       15 34. As a result of each and every violation of 15 U.S.C. §1692d,
       16 Plaintiff is entitled to statutory damages in an amount up to $1,000.00
       17
                from each and every defendant, jointly and severally.
       18

       19                                                 SECOND CLAM FOR RELIEF
       20
                                         VIOLATION OF THE FDCPA 15 U.S.C. §1692f
       21

       22
                               BY DEFENDANT WESTERN DENTAL SERVICES, INC.
L
       23       35.         Plaintiff incorporates by reference all of the above paragraphs of
 1
-i
       24
                this Complaint as though fully stated herein.
       25
J
       26 36.               The foregoing acts and omissions constitute numerous and
       27
                multiple violations of                        the FDCPA, inclusive 15 U.s.C. §1692f.
       28


                                                     COMPLAINT AND DEMAND FOR TRIAL BY JURY
 i
                                ,r")
          Case 5:12-cv-02084-FMO-SP Document 1 Filed 11/28/12 Page
                                                              ( 'ì 8 of 21 Page ID #:8
                                    t J
      j


            . 1
                  37. As a result of each and every violation of 15 U.S.C. §1692f,

             2    Plaintiff    is entitled to statutory damages in an amount up to $1,000.00
             3
                  from each and every defendant, jointly and severally.
             4

             5                               THIRD CLAM FOR RELIEF
             6
                                      VIOLATIONS OF THE TELEPHONE
             7

             8
                                    COMMUNICATIONS ACT 47 U.S.C. §227

             9                BY DEFENDANT WESTERN DENTAL SERVICES, INC.
            10
                  38. Plaintiff incorporates by reference all of the above paragraphs of
            11

            12    this Complaint as though fully stated herein.
            13
                  39. Defendant Western Dental has demonstrated wilIful or knowing
            14

            15
                  non-compliance with 47 U.S.C. §227(b)(i)(A) by using an automatic

            16    telephone dialing system to call the Plaintiffs number, which is
            17
                  assigned to a cellular telephone service.
            1R

            19    40. Defendant Western Dental has committed 19 separate violations
            20
                  of 47 U.S.C. §227(b)(i)(A) and Plaintiff is entitled to damages of$1500
            21

            22    per violation pursuant to 47 U.S.C. §227(b)(3)(B).

1
            23    41. Defendant Western Dental has demonstrated willful or knowing
 l
1
 1
  j
            24
  1
                  non-compliance with 47 U.S.G. §227(b)(i)(A) The last 19 calls are
            25
J..
            26    subject to treble damages pursuant to 47 U.s.C. §227(b)(3) as they were
            27
                  intentionaL. Plaintiff spoke with Defendant Western Dental's
 1
            28
J
                                                           -8-
                                          COMPLAINT AND DEMAND FOR TRIAL BY JURY
 !
    Case 5:12-cv-02084-FMO-SP Document 1 Filed 11/28/12 (')
                                                        Page 9 of 21 Page ID #:9
J                                             C-)


        1
              representatives twice after sending a cease communication letter and
       2      twice after receiving the Notice of Intent to Sue Letter and blatantly
       3
              ignored federal and state laws by continuing the harassing calls to
       4

       5      Plaintiff. Since then Defendant Western Dental refuses and continues
       6
              to violate 47 U.S. C. An unintentional call carries a damage amount of
       7

       8      $500; an intentional call carries a damage amount of $1,500 per
       9 violation.
      10
              42. Defendant Western Dental has demonstrated willful or knowing
      11

      12 non-compliance with                             4 7U.S.C. §227(b)(i)(A) by calling the Plaintiffs

      13
              n.umber, which is assigned to a cellular telephone service. The Plaintiff
      14

      15.
              has never given Defendant Western Dental permission to caii Plaintiffs
      16 cell phone as of September 28,2012. Plaintiff                            is entitled to damages of
      17
              $1500 per violation pursuant
                                                                 to 47 U.S.C. §227(b)(3)(B).
      18

      19 43. Defendant Western Dental has demonstrated willful or knowing
      20
              non-compliance with 47 U.S.C. §227(b)(i)(A) by continuing to call
      21

      22 Plaintiff 19 times after receiving the cease communication letter in

      23 violation of 47 U.S.C. §227.
      24
                          WHEREFORE, Plaintiff demands judgment for damages against
      25

      26 Defendant Western Dental for actual or statutory damages, and
      27
              punitive damages, and costs.
      28

                                                                      -9-

                                                    COMPLAINT AND DEMAND FOR TRIAL BY JURY
j
                             (j                          r-) 10 of 21 Page ID #:10
    Case 5:12-cv-02084-FMO-SP Document 1 Filed 11/28/12 Page



        i                               PRAYER FOR RELIEF
        2           WHEREFORE, Plaintiff respectfully requests judgment be
        3
            entered against Defendant, and Plaintiff be awarded damages from
        4

        5 Defendant, as follows:
        6
                  a. An award of actual damages pursuant to 15 U.s.C. §1692k(a)(1);
        7

        8
                  b. An award of statutory damages of $1,000.00 as to each and
        9 every violation of 15 U.S.C. §§1692d, and f as to each defendant;

       10
                  c. Declaratory judgment that Defendant Western Dental Services,
       11

       12 Inc. violated the FDCPA and TCPA;
       13
                  d. Statutory damages pursuant to the TCPA, $1,500.00 to Plaintiff,
       14

       15 for each violation;
       16         e; Costs and reasonable attorneys' fees, if and when applicable,
       17
            pursuant to 15 U.S.C. §1692k(a)(3);
       18

       19 f. Any other relief that this Honorable Court deems appropriate.



       21 e-
       20



       22
            Respectfully submitted this 27th day of November, 2012.




       23

       24

       25
            III
       26
            III
       27

       28   III

                                                   - 10-
                                  COMPLAINT AND DEMAND FOR TRIAL BY JURY
                           ()                            t') 11 of 21 Page ID #:11
    Case 5:12-cv-02084-FMO-SP Document 1 Filed 11/28/12 Page
j


        1
                                DEMAND FOR TRIAL BY JURY
        2

        3         PLEASE TAKE NOTICE that Plaintiff demands a trial by jury in
            this case.
        4

        5

        6

        7

        8
                                           VERIFICATION
        9         I, Monica Mitchell, am the Plaintiff in the above-entitled action. I
       10
            have read the foregoing Complaint and know the contents thereof. The
       11
            same is true of my own knowledge, except as to those matters which
       12

       13   are therein alleged on information and belief, and as to those matters, I
       14
            believe it to be true. I declare under penalty of perjury under the laws'
       15

       16   of the United States of America that the foregoing is true and correct
       17
            and that this declaration was executed this 27th day of November,
       18
            2012, in Corona, California.


                                             ~
       19

       20

       21
                                               Monica Mitchell

       22

       23

       24

       25

       26

       27

       28

                                               - 11 -


                              COMPLAINT AND DEMAND FOR TRIAL BY JURY
    j                          (j                            /"--, 12 of 21 Page ID #:12
        Case 5:12-cv-02084-FMO-SP Document 1 Filed 11/28/12 Page ,I




             1
                                         PLANTIFF'S EXHIBITS
             2

             3
                 Cease and Desist Letter                      1
             4

             5

             6
                 Notice of Intent to File Lawsuit 2
             7

             8

             9

            10

            11

            12

            13

            14

            15

            16

            17

            18

            19

           20

           21
i

           22
L
           23
l
j


           24

           25
J
           26

            27

            28

                                                     - 12 -


                                    COMPLAINT AND DEMAND FOR TRIAL BY JURY
     I
                                (J
         Case 5:12-cv-02084-FMO-SP Document 1 Filed 11/28/12 Page 13 of 21 Page ID #:13



             1


             .2


             3

             4

             5

             6

             7

             8

             9

            10

            11

            12

            13

            14

            15

            16

            17

            18

            19

            20

            21
--
 ¡
            22
 J

jl          23
jj


 4          24
 J

 i
            25
 1
-j                                             Exhibit i
            26

            27

            28

                                                   - 13 -


                                  COMPLAINT AND DEMAND FOR TRIAL BY JURY
         Case 5:12-cv-02084-FMO-SP Document 1 Filed 11/28/12 Page
                                                                J 14 of 21 Page ID #:14
     1
                                        C)

                                                          Monica Mitchell

                                                        1683 Tamarron Drive

                                                         Corona, CA 92883




            September 28, 2012




            Western Dental
            Via Facsimile Transmittal 714/571-3570



            Re: Account of Monica Mitchell

           To whom it may concern:

           Pursuant to my rights under federal debt collection laws, I am requesting that you cease and desist
           communication with me, as well as my family and friends, in relation to this and all other alleged debts
           you claim lowe. I repeat, you do not have permission to call my cell phone @ 951-316-3298.



           You are hereby notified that if you do not comply with this request, I will immediately file a complaint
           with the Federal Trade Commission and the California Attorney General's office.

           Civil and criminal claims will be pursued.




                             ,.--

jj
 j
 "




1


J


 I
                                                     l"\ 15 of 21 Page ID #:15
Case 5:12-cv-02084-FMO-SP Document 1 Filed 11/28/12 Page
                                                      '\i




                                          - 14 -


                         COMPLAINT AND DEMAND FOR TRIAL BY JURY
                                                            \j 16 of 21 Page ID #:16
     Case 5:12-cv-02084-FMO-SP Document 1 Filed 11/28/12 Page
 j
                                                  C)

                                                               Monica Mitchell-Graham
                                                                       Erwin Graham
                                                                    1683 Tamarron Drive
                                                                     Corona, CA 92883




       October 10, 2012




       Via Facsimile       Transmittal        714/571-3570 and U.S. Mail
       Western Dental Services, Inc.
       P.O. Box 14228
       Orange, CA 92863-1228

                                                          Notice of Intent to File lawsuit

       Re: Account #10-049472

       To Whom It May Concern:

       Please be advised that this letter shall serve as formal notice of our intent to file a lawsuit against your
       company, due to your negligence and blatant and objectionable disregard of the law, for extensive
       damages for violating, including, but not limited to, the Telephone Collection Practices Act ("TCPA") and
       the Fair Debt Collection Practices Act ("FDCPA").

       If you wish to resolve this matter, this wil be your last opportunity to do so. In the meantime, the
       amount of $1500.00 per violation shall continue to accrue with each additional violation by your
       company. Western Dental has no later than 2:00 p.m. PST Monday, October 15, 2012 to resolve this
       matter, and you may only make contact by                     email: monica_graham@rocketmail.com. We hereby put
       you on notice that Western Dental's failure to do so may result in WESTERN DENTAL SERVICES, INC. to

       be named in a lawsuit for full civil            liability.




                                                                        ~
                                                                         Submitted with All Rights Reserved,
1
J
JJ
                                                                         Monica ~jhell-Graham


J
                                                                          )'./J-
                                                                         Erwin Graham




J
j I                            ()
      Case 5:12-cv-02084-FMO-SP Document 1 Filed 11/28/12 Page
                               \/                          ( ~)
                                                                17 of 21 Page ID #:17


                                     PROOF OF SERVICE BY MAIL

             2 STATE OF CALIFORNIA )
             3 COUNTY OF RIVERSIDE )
             4 I, J. Davis, declare as follows:

             5

          6 I am employed in Riverside County, I am over the age of eighteen years
              and am not a party to the within entitled action; my business address is
          7 200 Main Street #100, Corona, CA 92882.

          8
                 On October 10, 2012, I served the following:
          9

         10                    NOTICE OF INTENT TO FILE LAWSUIT
         11 On interested parties in said action by United States Mail, postage
         12 prepaid, addressed as follows:
         13
                 Western Dental Services, Inc.
         14 P.O. Box 14228

         15 Orange, CA 92863-1228
         16
                   I personally deposited with the U.S. Postal Service on that same
         17 day with postage thereon fully prepaid at Corona, California, in the
             ordinary course of business. I am not a registered California process
         18
             server.
         19       I declare under penalty of perjury under the laws of the State of
         20 California that the foregoing is true and correct.
         21 Executed on October 10, 2012, at Corona, California
        22

        23

        24

        25

        26

        27

        28
                                                   - i -


                                             PROOF OF SERVICE
    Case 5:12-cv-02084-FMO-SP Document 1 Filed 11/28/12 Page 18 of 21 Page ID #:18
j
                                              UNITED STATES DISTRICT COURT
                                             CENTRAL DISTRICT OF CALIFORNIA


              NOTICE OF ASSIGNMENT TO UNITED STATES MAGISTRATE JUGE FOR DISCOVERY


                         This case has been assigned to District Judge Percy Anderson and the assigned
                   discovery Magistrate Judge is Sheri Pym.

                   The case number on all documents fied with the Court should read as follows:

                                                      EDCV12- 2084 PA (SPx)
                   Pursuant to General Order 05-07 of the United States District Court for the Central
             District of California, the Magistrate Judge has been designated to hear discovery related
             motions.



             All discovery related motions should be noticed on the calendar of the Magistrate Judge




            ~ ~ ~ ~ ~ ~ ~ ~ ~ ~ ~ ~ ~ ~ ~ ~ ~ ~ ~ ~ ~ ~ ~ ~ ~ ~ ~ ~ ~ ~ ~ ~ ~ ~ ~ ~ ~ ~ ~:
                                                                   NOTICE TO COUNSEL

         A copy of this notice must be served with the summons and complaint on all defendants (if a removal action is
         filed, a copy of this notice must be served on all plaintiffs).

         Subsequent documents must be filed at the following location:

         'bi Western Division U Southern Division U                                                  Eastern Division
         ( 312 N. Spring St., Rm. G-B 411 West Fourth St., Rm. 1-053                                 3470 Twelfth St., Rm. 134
               Los Angeles, CA 90012 Santa Ana, CA 92701-4516
                                                                                                     Riverside, CA 92501




         Failure to fie at the proper location wil result in your documents being returned to you.




         CV-18 (03/06)            NOTICE OF ASSIGNMENT TO UNITED STATES MAGISTRATE JUDGE FOR DISCOVERY
             Case 5:12-cv-02084-FMO-SP Document 1 Filed 11/28/12 Page 19 of 21 Page ID #:19
                                         UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
j                                                                                 CIVIL COVER SHEET

        I (a) PLAINTIFFS (Check box if     you are representing yourself Ii                       DEFENDANTS
              MONICA MITCHELL                                                                       WESTERN DENTAL SERVICES, INC.




        (b) Attorneys (Firm Name, Address and Telephone Number. If     you are representing       Attorneys (If Known)
            yourself, provide same.)
             MONICA MITCHELL IN PRO PER (951) 316-3298
             1683 TAMARRON DRIVE
             CORONA, CA 92883

       II. BASIS OF JURISDICTION (Place an X in one box only.)                 II. CITIZENSHIP OF PRINCIPAL PARTIES - For Diversity Cases Only
                                                                                     (Place an X in one box for plaintiff and one for defendant.) .
       o i U.S. Government Plaintiff       "3 Federal Question (U.S.                                                              PTF DEF                                                                       PTF DEF
                                                Government Not a Part)         Citizen ofThis State                               01         01         Incorporated or Principal Place                         04 04
                                                                                                                                                        of Business in this State
      o 2 U.S. Governent Defendant 04 Diversity (Indicate Citizenship Citizen of Another State                                    02 02
                                         of Parties in Item II)
                                                                                                                                                        Incorporated and Principal Place                       05 05
                                                                                                                                                        of Business in Another State
                                                                               Citizen or Subject of a Foreign Country 0 3 03 Foreign Nation                                                                   06 06
      IV. ORIGIN (Place an X in one box only.)

           Proceeding State Court Appellate                    Court Reopened District
      MI Original 02 Removed from 03 Remanded from 04 Reinstated or 0 5 Transferred from another district (specifY: 06 Multi-

                                                                                                                                                                           Litigation
                                                                                                                                                                                             o 7 Appeal to District
                                                                                                                                                                                                     Judge from
                                                                                                                                                                                                     Magistrate Judge
      V.REQUESTED IN COMPLAINT: JURY DEMAND: FiYes 0 No (Check 'Yes' only if demanded in complaint.)
      CLASS ACTìo.N under F.R-CP. 23: 0 Yes riNo 0 MONEY DEMANDED IN COMPLAINT: $ 75,000.00
      VI. CAUSE OF ACTION (Cite the U.S. Civil Statute under which you are fiing and write a brief statement of cause. Do not cite jurisdictional statutes unless diversity.)
           15 USC 1692D, F, TCPA
      VII. NATUR OF SUIT (Place an X in one box only.)

     I~lrli.._
     o 400 State Reapportionment 0 I
     0410 Antitrst 0120                       Marine                          Airplane                                                                Motions to Act
     o 430 Banks ànd Banking 0 130            Miler Act                       Airplane Product      0370 Other Fraud Vacate Sentence 0720 LaborlMgmt.
     0450 CominercefiCC 0140 Negotiable Instrment                             Liability             0371    Truth in Lending Habeas Corpus Relations
             Rates/etc. 0150                  Recovery of              o 320 Assault, Libel &       0380    Other Personal 0 530 General 0 730 LaborlMgmt.
     o 460 Deporttion                         Overpayment &                   Slander                       Propert Damage 0 535 Death Penalty Reporting &
     0470 Racketeer Influenced                Enforcement of           0330 Fed. Employers'         o 385 Propert Damage 0 540 Mandamus/ Disclosure Act
            and Corrpt                      Judgment                          Liability
                                                                                                         Product Liabilty Other 0740 Railway Labor Act
            . Organizations            0151 Medicare Act               0340 Marine
                                                                       o 345 Marine Product         lIiIll. 0 550 Civil Rights J: 790 Other Labor
     ri480 Consumer Credit             0152 Recovery of Defaulted                                   o 422 Appeal 28 USC 0 555 Prison Condition Litigation
     o 490 Cable/Sat TV
     o 810 Selective Service
                                              Student Loan (ExcL
                                       Veterans)
                                                                               Liability
                                                                       o 350 Motor Vehicle
                                                                                                            158 0791 EmpL Ret. Inc.
                                                                                                    0423 Withdrawal28 il.,' .~J.~~~~";I"01
                                                                       0355 Motor Vehicle
     0850 Securities/Commodities/ 0153 Recovery of
                                                                              Product Liability     i@i@gr,..~~i.¡¡~1lg~... 0610 Agriculture r iA,~t¡~Jlll*1
            Exchange                   Overpayment of                                               il~'#Xf~¡I-,~¡1 ,0 620 Other Food & 0 820 Copyrights
     o 875 Customer Challenge 12              Veteran's Benefits
                                                                       o 360 Other Personal
                                                                              Injury                0441 Voting Drug" 0 830 Patent
            USC 3410                   0160 Stockholders' Suits        o 362 Personal Injury-       o 442 Employment 0 625 Drug Related 0 840 Trademark
     o 890 Other Statutory Actions     0190 Other Contract                    Med Malpractice       0443 Housing/Acco- Seizure of '."'..i'.2
     o 891 Agricultural Act            0195 Contract Product           o 365 Personal Injury-              mmodations Propert 21 USç 0861 IDA (1395ff
     o 892 Economic Stabilzation              Liability                       Product Liability 0 444      Welfare 881 tJ 862 BlackLurig(923)
            Act                        0196   Franchise                o 368 Asbestos Personal 0 445       American with 0630 Liquor Laws" 0 863 DIWCIDIW
    o 893 Environmental Matters        IqM;;Ii¡¡\1¡iW,;$Mli~itii\.((
                                       ,g~llt;!Njiliiki:\1 Injury Product                                  Disabilities - 0640 R.R & Truck (405(g))
    0894 Energy Allocation     Act                                                                         Employment 0 650 Airline Regs ' . 0 864 ssm Title XVI
    o 895 Freedom oflnfo. Act       g ;~~ ;~~:c~~~~eemnation w¿~._l¡1Di¡IRI                       0446
    0900 Appeal of     Fee Determi- o 230 Rent Lease & Ejectment 0 462 Naturalization                      DAmi'saebrii'.cii~tni'esw~th 0660 Occupational ~,.,..S.'..f.?'li5
                                                                                                                                              Safety !Health                 ".~'I.S,',kI'~:,:,r.,fi,O,5At.,w.(,gg.,) '.~.'.'.'.",1m,'",',d'M1'","'.',.',i
                                                                                                                                                                           \.fLa'.iull.l!;S;!llflN'l
            nàtion Under Equal         o 240 Torts to Land Application                                     Other 0 690 Other ;i'" 0 870 Taxes (U.S. Plaintiff
            Access to Justice       Ò 245 Tort Product Liability 0 463 Habeas Corpus-               o 440 Other Civil or Defendant)
    o 950 Constitutionality of      o 290 All Other Real Propert Alien Detainee                            Rights '.. 0 871 IRS-Third Part 26
            State Statutes                                             o 465 Other Immigration
                                                                              Actions
                                                                                                                                                                                              USC 7609
                                                                                                                                                                      ¡JiH




                                         ED               Cy
    FOR OFFICE USE ONLY: Case Number: "'1)".'
                             AFTER COMPLETING THE FRONT SIDE OF FORM CV-71, COMPLETE THE INFORMATION REQUESTED BELOW.

    CV-71 (05/08)                                                              CIVIL COVER SHEET                                                                                                               Page i of2
                    Case 5:12-cv-02084-FMO-SP Document 1 Filed 11/28/12 Page 20 of 21 Page ID #:20
                                              UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
j          '"
                                                                                          CIVIL COVER SHEET

      VII(a). IDENTICAL CASES: Has this action been previously fied in this court and dismissed, remanded or closed? iiNo 0 Yes
      Ifyes, list case number(s):

      VIII(b). RELATED CASES: Have any cases been previously fied in this court                                   the present case? MNo 0 Yes
                                                                                                that are related to
      iryes, lisi case number(s):

      Civil cases are deemed related if a previously fied case and the present case:
     (Check all boxes that apply) 0 A Arise from the same or closely related transactions, happenings, or events; or
                                   o B. Call for detennination ofthe same or substantially related or similar questions oflaw and fact; or
                                          DC. For other reasons would entail substantial duplication oflabor if heard by differentjudges; or

                                          o D. Involve the same patent, trademark or copyright, and one of    the factors identified above in a, b or c also is present.

     IX. VENUE: (When completing the following infonnation, use an additional sheet if             necessary.)

     (a) List the County in this District; California County outside ofthis District; State if other than California;     or Foreign Countr, in which EACH named plaintiff resides.
     0    Check here if the l!Overnment, its a!!encies or employees is a named olaintiff. Ifthis box is checked, !!o      to item (bt
         County in this District:"                                                                                             this
                                                                                                    California County outside of      District; State, if other than California; or Foreign Country
     ORANGE




     (b) List the County in this District; California County outside ofthis       District; State if other than California; or Foreign Country, in which EACH named defendant resides.
     0          Check here if the !!overnment, its a!!encies or emolovees is a named defendant. If this box is checked, !!o to item (c).
       County in this District:"                                                                                               this
                                                                                                    California County outside of      District; State, if other than California; or Foreign Country
     RIVERSIDE

            .        .



    (c) List the County in this District; California County outside ofthis         District; State if other than California; or Foreign Country, in which EACH claim arose.
                Note' In land condemnation cases, use the location of the tract ofland involved
      County in this District:"                                                                                                this
                                                                                                    California County outside of      District; State, if other than California; or Foreign Country
     RIVERSIDE




    * Los Angeles, Orange, San Bernardino, Riverside, Ventu
    Note: In land condemnation cases use the location of the tr

    X SIGNATURE OF ATTORNEY (OR PRO P                                                                                         Date       1/-tZ17L         ¡

           . Notice to Counsellarties: The CV -71 (JS-44) Civil Cover Sheet and the infonnation contained herein neither replace nor supplement the fiing and service of      pleadings
            or other papers ás required by law. This fonn, approved by the Judicial Conference ofthe United States in September 1974, is required pursuant to Local Rule 3-1 is not fied
            but is used by the Clerkofthe Court for the purpose of   statistics, venue and initiating the civil docket sheet. (For more detailed instrctions, see separate instrctions sheet..

    Key to Statistical codes relating to Social Security Cases:

                         Nature of   Suit Code Abbreviation          Substantive Statement of Cause of Action


                         861 HIA                                     All claims for health insurance benefits (Medicare) under Title 18, Par A, of the Social Security Act, as amended.

                                                                     program. (42 U.S.C. 1935FF(b)) .                                                              services
                                                                     Also, include claims by hospitals, skiled nursing facilities, etc" for certification as providers of       under the


                         862 BL                                                                                                   the
                                                                     All claims for "Black Lung" benefits under Title 4, Part B, of

                                                                     (30 U.S.c. 923)
                                                                                                                                           Federal Coal Mine Health and Safety Act of 1969.


                         863 DIWC                                    All claims fied by insured workers for disability insurance benefits under Title 2 the
                                                                                                                                                        of    Social Security Act, as
                                                                     amended; plus all claims fied for child's insurance benefits based on disability. (42 U.S.C. 405(g))

                         863 DIWW                                    All claims fied for widows or widowers insurance benefits based on disability under Title 2 ofthe
                                                                     Act, as amended. (42 U.S.C. 405(g))
                                                                                                                                                                                Social Security


                         864 ssm                                     All claims for supplemental security income payments based upon disability fied under Title 16 ofthe Social Security
                                                                     Act, as amended.

                         865 RSI                                     All claims for retirement (old age) and survivors benefits under Title 2 the
                                                                     U.S.C. (g))
                                                                                                                                               of       Social Security Act, as amended. (42




    CV -71 (05/08)                                                                      CIVIL COVER SHEET                                                                                  Page 2 of2
       Case 5:12-cv-02084-FMO-SP Document 1 Filed 11/28/12 Page 21 of 21 Page ID #:21
J      Name & Address:
       Monica Mitchell
       1683 Tamarron Dr.
      Corona;CA 92883
      951-316-3298
      monica _graham@rocketmaiL.com

                                 UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALI 1;,
      MONICA MITCHELL, an individual

                                                                                                         ..
                                                                                                                02084              eila
                                                                                                                                   a ß1


                                                                                                                                          ~ X

                                                                                                              SUMMONS
                                                               DEFENDANT(S).




    TO: '.. "DEFENDANT(S):

              A lawsuit has been fied against you.

        ,Within ~s after, service of this summons on you (not counting the day you received it), you
    must serve on the plaintiff an answer to the attached i: complaint D amended complaint
    D counterclaim D cross-claim or amotion under Rule 12 of                      the Federal Rules of          Civil Procedure. The answer
    öriiötion rnustbe served              on the plaintiffs attorney, Monica Mitchell in Pro Per , whose address is
     1683 Tainaion Drive, Corona,'CA 92883 . If                                                   you fail to do so,
    judgment by defaul~ wil ?e entered against you for the relief demanded in the complaint. Y o~, ~~t~~l.~t fie
    your answer or motion with the court. TERRY NA!lSI, ~,(::;,~~: \J\" ~ \\
                                                                                                         ",. ", ~t\,tl,'¡,i~
                                                                                               ~~ t\ W¡\'à \~¡.1\ U ~
                                                                    çier\J-r-:S\t~£itbourt
                                  ',: '-,' 1_
                                           i '1 8 1)011)-1
                                                   ~t; (',\v~l1
                                                           (~"~'Ì t.Ml\RGO M E.~D
         Dated: By:
    ¡Use 60 days if the defendant is the United States or a United States agency, or is an offcer i¡it~~ .~~q
    60 days by ~u/e 12(a)(3)). (1"134)



    'cv-oIA (lQ/ii                                                      SUMMONS
